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                       UNITED STATES OF AMERICA
                      DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA          )
                                  )
     v.                           )       CRIMINAL NO 17-10158-FDS
                                  )
ALBERT TADERERA,                  )
     Defendant.                   )

           GOVERNMENT’S MOTION TO REMAND THE DEFENDANT
      TO THE CUSTODY OF THE US MARSHAL FOLLOWING SENTENCING


     The Governments requests this Court, following the

acceptance of the plea agreement and imposition of sentence,

remand the Defendant to the custody of the United States

Marshal.

     On March 24, 2017, the defendant Albert Taderera

(“Taderera”) was arrested in the Eastern District of Virginia

and charged in a one-count criminal complaint, issued in the

District of Massachusetts charging him with armed bank robbery.

Taderera appeared in this district and was ordered detained.           On

April 13, 2018, Taderera was released by the Court on an

unsecured bond and pretrial conditions.

     On January 4, 2019, the defendant pled guilty to one count

of a two count Superseding Information charging him with armed

bank robbery in violation of 18 U.S.C. § 2113(a) and (d).

Taderera pled guilty to a binding plea agreement filed pursuant

to Fed. R. Cr. P. 11(c)(1)(C).        Acceptance of the plea agreement

was deferred by this Court until sentencing.

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     Accordingly, the Government requests this Court, accept the

plea agreement, sentence Taderera, and remand him to the custody

of the United States Marshal.



                                  Respectfully submitted,

                                  ANDREW E. LELLING
                                  United States Attorney

                             By: /s/ Kenneth G. Shine
                                 KENNETH G. SHINE
                                 Assistant U.S. Attorney


                          CERTIFICATE OF SERVICE

     This is to certify that I have this date served a copy of
the foregoing upon defendant’s counsel of record by electronic
filing notice.

                                   /s/ Kenneth G. Shine
                                   KENNETH G. SHINE
                                   Assistant U.S. Attorney




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